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                      UNITED STATES DISTRICT COURT
                        DISTRICT OF NEW JERSEY


UNITED STATES OF AMERICA               Hon. William H. Walls

           v.                          Crim. No. 13-096

LINDA YARLEQUE and                     ORDER FOR CONTINUANCE
FABIO MORENO VARGAS


           This matter having come before the Court on the joint

application of Paul J. Fishman, United States Attorney for the

District of New Jersey (Rachael A. Honig, Assistant U.S.

Attorney, appearing), defendant Linda Yarleque (Peter Willis,

Esq., appearing), and defendant Fabio Moreno Vargas         (Carol

Gillen, Assistant Federal Public Defender, appearing)         for an

order granting a continuance of the proceedings in the above-

captioned matter, and the defendants being aware that they have

the right to have the matter brought to trial within 70 days of

the date of their appearances before a judicial officer of this

court pursuant to Title 18, United States Code, Section

3161(c) (1), and the defendants having consented to such a

continuance, and it appearing that the defendants waive such

right, and for good and sufficient cause shown,

          IT IS THE FINDING OF THIS COURT that this action should

be continued for the following reasons:

          (1)   The discovery in this case involves a large

quantity of financial records that defense counsel requires

adequate time to review;
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               (2)     Taking into account the exercise of diligence,

 therefore,     the facts of this case require that defense counsel be

 permitted a reasonable amount of additional time for effective

 preparation in this matter;

               (3)   Plea negotiations are currently in progress,          and

 both the United States and the defendants desire additional time

 to negotiate plea agreements,         which would render trial of this

matter unnecessary;

               (4)   As a result of the foregoing,       pursuant to Title 18,

United States Code,          Section 3161(h) (7),    the ends of justice

served by granting the continuance outweigh the best interest of

the public and the defendant in a speedy trial.

              IT IS,    therefore,   on this1dayof March,              2013,

              ORDERED that this action be,          and hereby is,   continued;

and it is further

              ORDERED that pretrial motions shall be filed on or

before May 20,       2013;   and it is further

              ORDERED that the government’s response to such motions

shall be filed on or before June 3,          2013;    and it is further

              ORDERED that any reply shall be filed on or before June

10,   2013,   and it is further
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